                 Case 3:24-mj-00180-BLM Document 1 Filed 01/22/24 PageID.1 Page 1 of 5
S%ril
    ✓!}!() lf                         UNITED STATES DISTRICT COURT
    (\     \                       SOUTHERN DISTRICT OF CALIFORNIA

~        UNITED STATES OF AMERICA,                        ;   Magistrate Docket No.
                                                                                      24mj0180-BLM

                                   Plaintiff,             )
                                         V.               )   COMPLAINT FOR VIOLATION OF:
                                                          )   Title 8, U.S.C. § 1324(a)(l ){A)(ii)
                                                          )   Transportation of Illegal Aliens
                                                          )
                                                          )   Title 8, U.S.CJ 1326 Deported Alien
         Celia A VINA-Ruiz,                                   Found In The nited States
                                                          )
         Eduardo VIDAL-Maceda,                            )
                                                          )
                                                          )
                                                          )
                                   Defendants.            )




                The undersigned complainant being, duly sworn, states:

                                                 Count One

         On or about January 21, 2024, within the Southern District of California, defendant, Cel ia
         AVINA-Ruiz, with the intent to violate the immigration laws of the United States, knowing or
         in reckless disregard of the fact that certain aliens, namely, Santos Manuel CASTRO-Urias,
         had come to, entered and remained in the United States in violation of law, did transport and
         move, said aliens within the United States in furtherance of such violation of law; in violation
         of Title 8, United States Code, Section 1324(a)(l)(A)(ii).
          Case 3:24-mj-00180-BLM Document 1 Filed 01/22/24 PageID.2 Page 2 of 5


                                          Count Two

  On or about January 21, 2024, within the Southern District of California, defendant, Eduardo
  VIDAL-Maceda, an alien, who previously had been excluded, deported and removed from
  the United States, was found in the United States, without the Attorney General or his
  designated successor, the Secretary of the Department of Homeland Security (Title 6, United
  States Code, Sections 202(3) and (4), and 557), having expressly consented to the defendant's
  reapplication for admission into the United States; in violation of Title 8 United States Code,
  Section 1326.

  And the complainant further states that this complaint is based on the attached probable
  cause statement, which is incorporated herein by reference.




                                                      SIGNA
                                                      Jesse Bojorquez
                                                      Border Patrol Agent


SWORN AND ATTESTED TO UNDER OATH BY TELEPHONE, IN ACCORDANCE WITH
FEDERAL RULE OF CRIMINAL PROCEDURE 4.1, ON JANUARY 22, 2024.




                                                      HON. BARBAR L. MAJOR
                                                      United States Magistrate Judge
        Case 3:24-mj-00180-BLM Document 1 Filed 01/22/24 PageID.3 Page 3 of 5


CONTINUATION OF COMPLAINT:
Celia A VINA-Ruiz,
Eduardo VIDAL-Maceda,


                              PROBABLE CAUSE STATEMENT
The complainant states that Santos Manuel Castro-U rias, is a citizen of a country other than the
United States; that said alien has admitted that he is deportable; that his testimony is material,
that it is impracticable to secure his attendance at the trial by subpoena; and he is material
witness in relation to this criminal charge and should be held or admitted to bail pursuant to
Title 18, United States Code, Section 3 144.

On January 2 1, 2024, Border Patrol Agent J. Stebbins was conducting his assigned duties w ith
his canine partner in the Brown F ield Border Patrol Station's area of responsibility. Agent
Stebbins was wearing his full rough duty unifo rm with badge and insignia fully visible and
operating in his assigned canine vehicle.

At approximate ly 4:00 PM, Border Patrol Agent T. Creteau was operating a mobile detection
scope and advised Agent Stebbins of that he observed two individuals run from the brush on
Proctor Valley Road and enter a gold-colored sport uti lity vehicle. Agent Creteau then advised
that the vehicle was heading eastbound toward State Route 94 (SR94) and that it did not have a
front license plate. At approximately 4 : 10 PM, Agent Stebbins observed a gold-colored
Chevrolet Tahoe w ith no front license plate heading toward SR94. Agent Stebbins could see a
female driver as we ll as the silhouettes of at least two other individuals sitting in the vehi cle. At
approximately 4:17 PM, Agent Stebbins conducted a vehicle stop of the Chevrolet Tahoe,
which yielded at the intersection of SR94 and Fair Acres Lane. This area is approximately 1.6
miles east of the Otay Mesa, California Port of E ntry and approximately 12 miles n01th of the
international border between the United States and Mexico.

Agent Stebbins approached the driver's side door of the Tahoe and identified himself to the
driver, later identified as, defendant, Celia A VINA-R uiz, as a United States Border Patrol
Agent. Agent Stebbins asked A VINA who the other individuals in her vehicle were. A VINA
then stated, "I'm not going to lie, someone asked me to come pick these people up." Agent
Stebbins then asked AVINA if she picked them up emerging from the brush on a dirt road, to
which A VINA admitted to doing so. Agent Stebbins instructed A VINA to exit the veh icle for
her detainment. A VINA then requested to not be placed in handcuffs in front of her five-year-
old son, who was sitting in the back row of the Tahoe umestrained by a safety belt. Agent
Stebbi ns then conducted an immigration inspection of the other two ind ividuals, later identified
as defendant, Eduardo VIDAL-Maceda, and material witness, Santos Manuel CASTRO-U ri as,
sitting in the front passenger seat and the middle row behind the driver's seat. CASTRO and
VIDAL admitted to being citizens of Mexico without any documents allowing them to enter or
        Case 3:24-mj-00180-BLM Document 1 Filed 01/22/24 PageID.4 Page 4 of 5


CONTINUATION OF COMPLAINT:
Celia A VINA-Ruiz,
Eduardo VIDAL-Maceda,



remain in the United States legally. At approximately 4:20 PM, Agent Stebbins placed
A VINA, CASTRO, and VIDAL under arrest.

Defendant, Celia AVINA-Ruiz, was read her Miranda Rights and agreed to speak and answer
questions without an attorney present. AVINA admitted that she has successfully smuggled
illegal aliens into the interior of the United States on over 80 different occasions between
approximately September 2023 and today's date. AVINA also stated that she is usually paid
about $1,000 U.S. Dollars per illegal alien smuggled. A VINA stated that she usually brings one
of her children with her when she smuggles illegal aliens. AVINA also stated that on multiple
occasions she transported illegal aliens from the border area directly to their family members in
various locations throughout California. AVINA stated that she would collect smuggled aliens
and foot guides from the border area, drop the foot guide off at her apartment, and transport the
smuggled aliens further into the interior of the United States.

AVINA stated once she arrives at the smuggled aliens' final destination, she collects full
payment for the smuggled alien. If the family members of the smuggled alien do not pay the
total smuggling fee, she would bring the smuggled individual back south to San Diego to her
apartment where she would await further instruction. AVINA stated that when family members
do pay the whole smuggling fee, she would transport the money back to her apartment in San
Diego, where she would retrieve the foot guide and receive her payment before bringing the
foot guide and remaining money back to the Otay Mesa or San Ysidro Port of Entry.

AVINA stated that on January 21, 2024, she was contacted by a smuggling coordinator who
asked her if she was available to pick up illegal aliens. A VINA stated that she drove to the
location that was provided to her which was on Proctor Valley Road in Jamul, California.
AVINA stated that once she arrived at the location, she contacted the foot guide, and two
individuals jumped into her vehicle. AVINA stated that she was going to be paid $1,000 U.S.
Dollars to transport the one illegal alien and foot guide to an undisclosed location in Los
Angeles. AVINA stated that when she was getting pulled over by Border Patrol Agents, one of
the smuggled aliens was encouraging her to flee from Agents. A VINA stated that she pulled
over and did not flee from Agents because she had her child in the car and because she did not
want to make the situation worse.

Material witness Santos Manuel CASTRO Urias stated that he is citizen of Mexico without the
proper documents allowing him to enter or remain in the United States legally. CASTRO stated
that he made smuggling arrangements prior to crossing into the United States. CASTRO stated
        Case 3:24-mj-00180-BLM Document 1 Filed 01/22/24 PageID.5 Page 5 of 5

CONTINUATION OF COMPLAINT:
Celia A VINA-Ruiz,
Eduardo VIDAL-Maceda,



he was going to pay a smuggling fee of $850 USD if successfully smuggling into the United
States. CASTRO stated he was guided to the pickup location and once at the location he was
contacted by cell phone and was given the description of the load vehicle as a gray Tahoe.
CASTRO stated when the Tahoe arrived, the driver, a woman with colored hair, honked and
yelled out for them to move quickly. CASTRO stated he sat in the middle passenger seats and
observed a child in the third row behind him.

Defendant Eduardo VIDAL-Maceda was advised of his Miranda rights. The defendant stated
that he understood his rights and was willing to answer questions without an attorney present.
The defendant stated that he is a citizen of Mexico illegally present in the United States. The
defendant admitted that he had been previously deported from the United States and has not
applied or requested permission to re-enter the United States legally. The defendant stated that
he illegally entered the United States on January 19, 2024, with an intended destination of
Seattle, Washington.

Routine record checks of the defendant revealed a criminal and immigration history. The
defendant's record was determined by a comparison of his criminal record and the defendant's
current fingerprints. Official immigration records of the Department of Homeland Security
revealed the defendant was previously deported to Mexico on April 27, 2023,through San
Ysidro, California. These same records show that the defendant has not applied for permission
from the Attorney General of the United States or his designated successor, the Secretary of the
Department of Homeland Security, to return to the United States after being removed.
